
In re: Richard G. Boksham, applying for writ of review. Parish of Beauregard.
Writ granted. Case consolidated for hearing on appeals in State v. Bogle, et al., Docket No. 62873.
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Leland H. Coltharp, Jr. Judge of the Thirtieth Judicial District, Court for the Parish of Beauregard, to transmit to the Supreme Court of Louisiana, on or before the 24th day of November, 1978, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on a date and time to be fixed by this Court why the relief prayed for in the petition of the relator should not be granted.
